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  3        NOTE: CHANGES MADE BY THE COURT

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                         UNITED STATES DISTRICT COURT
  7
           CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
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  9
      WILLIAM SANDOVAL,                     Case No.: 2:19-cv-05773-RGK-GJS
 10
                            Plaintiff,      Honorable R. Gary Klausner
 11
           vs.
 12
      METRO CRUISE SERVICES,
 13
      L.L.C.; and SIGNAL MUTUAL
                                            FINAL JUDGMENT
 14   INDEMNITY ASSOCIATION,
      LTD.;
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 16                         Defendants.
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                                     FINAL JUDGMENT
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  1         On July 2, 2019, William Sandoval (“Plaintiff”) filed a complaint against
  2   Metro Cruise Services, LLC (“Metro”), and Signal Mutual Indemnity Association,
  3   Ltd. (“Signal”) (collectively “Defendants”), seeking enforcement of a Supplementary
  4   Compensation Order pursuant to section 918(a) of the Longshore and Harbor
  5   Workers’ Compensation Act (“Longshore Act”), 33 U.S.C. § 901, et seq.
  6         Having considered Defendants’ motion for summary judgment against
  7   Plaintiff, the parties’ briefing thereon, and evidence presented, on April 27, 2020, this
  8   Court entered its Order DENYING Defendants’ Motion for Summary Judgment in all
  9   respects and GRANTING sua sponte summary judgment to Plaintiff on all issues.
 10   Accordingly,
 11      1. Final Judgment is hereby entered against Metro and Signal, jointly and
 12         severally, and in favor of Plaintiff on all claims set forth in Plaintiff’s operative
 13         Complaint in this action.
 14      2. The District Court hereby upholds the award of District Director Marco A.
 15         Adame II, 18th Compensation District, granting Plaintiff additional
 16         compensation for Defendants’ violation of 33 U.S.C. section 914(f) in the
 17         principal amount of $35,767.70, together with interest thereon.
 18      3. Plaintiff is also entitled to interest on the principal amount of $35,767.70, from
 19         and after August 7, 2018, at the rate of 2.4% per annum.
 20      4. Accordingly, Plaintiff is hereby awarded against Defendants, jointly and
 21         severally, the sum of $35,767.70, together with interest, and reasonable
 22         attorneys’ fees to be determined after Plaintiff’s application for attorneys’ fees
 23         to be filed within 14 days after entry of this Final Judgment. Costs will be
 24         awarded in a amount to be determined following application to the Clerk of
 25         Court.
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                                         FINAL JUDGMENT
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